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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                      GAINESVILLE DIVISION



             UNITED STATES OF AMERICA,


                   v.                                    CRIMINAL ACTION NO.
                                                         2:14-CR-25-RWS
             FREDERICK FITZGERALD
             HINTON,


                         Defendant.


                                                ORDER


                   This case is before the Court for consideration of the Report and


             Recommendation ("R&R") [47] of Magistrate Judge J. Clay Fuller. After


             reviewing the R&R and Defendant's Objections [51] thereto, the Court enters


             the following Order.


                   The Court has reviewed de nova each of the findings and conclusions to


             which Defendant has objected. The Court finds that the R&R addresses each of


             the issues raised by Defendant thoroughly and correctly. Therefore,


             Defendant's Objections are OVERRULED, and the R&R is received with


             approval and adopted as the Opinion and Order of this Court.


                   Accordingly, Defendant's Motion to Suppress [28] and Amended Motion


             to Suppress [31] are DENIED.




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                SO ORDERED, this    -f.-1h_ day of July, 2015 .




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                                              UNITED STATES DIST




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